                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

In re:                                           Case No. 23-43403-mlo
                                                 Chapter 11
Ark Laboratory, LLC,                             Hon. Maria L. Oxholm

                            Debtor.

                        STIPULATED FINAL ORDER
                  AUTHORIZING USE OF CASH COLLATERAL
                  AND GRANTING ADEQUATE PROTECTION

         This matter having come before the Court upon the Stipulation to Entry of

  Final Order Authorizing Use of Cash Collateral and Granting Adequate Protection,

  and various Stipulations to Entry of Interim Order Authorizing Use of Cash

  Collateral and Granting Adequate Protection, (the “Stipulation”), objections

  regarding entry of the Interim Cash Collateral Order having been filed by the Official

  Committee of Unsecured Creditors (the “Committee”), the Office of the U.S. Trustee

  (“U.S. Trustee”) and McLaren Medical Laboratory (“McLaren”) (collectively, the

  “Objections”), the Court having reviewed the Stipulation and having heard the

  statements of counsel in support of the relief requested and any objections and any

  evidence offered; and the Court being fully advised in the premises;

         THE COURT FINDS THAT:




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      A.     Ark Laboratory LLC (“Debtor”) filed a voluntary petition for relief

under Chapter 11 of Title 11 of the United States Code, 11 U.S.C. § 101, et seq.

(“Bankruptcy Code”) on April 12, 2023 (“Petition Date”).

      B.     This Order resolves the Objections.

      C.     Without limitation, Debtor is indebted to Comerica Bank (“Comerica”)

under a certain Master Revolving Note executed by Debtor to the order of Comerica

on February 28, 2022 in the original principal amount of $6,750,000     (as amended,

the “Prepetition Revolving Note”). Without limitation, the indebtedness under the

Prepetition Revolving Note as of the Petition Date includes principal of

$6,376,908.51, interest of $23,360.32, plus accrued and accruing interest, costs, fees

and expenses,

      D.     The liabilities evidenced by the Prepetition Revolving Note and the

other loan and collateral documents, including interest, costs, fees and expenses, are

identified as the “Prepetition Indebtedness.”

      E.     Under a Guaranty dated June 4, 2022 (the “Guaranty”), James Grossi

(“Guarantor”) guaranteed a portion of the Prepetition Indebtedness, limited to the

principal sum of $500,000 “plus interest on that amount and all costs and expenses

(including reasonable attorneys’ fees) incurred by [Comerica] in enforcing [the]

Guaranty or in collecting the Indebtedness [(as defined in the Guaranty)].”




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      F.     The documents, instruments and agreements executed in connection

with the prepetition financing arrangements from Comerica to Debtor and Guarantor

are identified collectively as the “Prepetition Loan Documents.” Capitalized terms

not defined in this Order shall have the meanings set forth in the Prepetition Loan

Documents.

      G.     The Prepetition Indebtedness is secured by all assets of Debtor,

including without limitation: (a) existing and future accounts, chattel paper, contract

rights, deposit accounts, general intangibles, instruments, documents, software,

rights to payment evidenced by chattel paper, documents or instruments, commercial

tort claims, letters of credit, letter of credit rights, supporting obligations and rights

to payment for money or funds advanced or sold; (b) presently owned and hereafter

acquired inventory; (c) presently owned and hereafter acquired investment property;

(d) presently owned and hereafter acquired property in possession or control of

Comerica; (e) presently owned and hereafter acquired machinery, equipment,

furniture, fixtures, tools, parts and accessories, and all proceeds and products of and

accessions to all of the foregoing (collectively, “Prepetition Collateral”), all as more

particularly described in the Security Agreement (All Assets) executed by Debtor in

favor of Comerica dated January 19, 2021 (“Security Agreement”).

      H.     Comerica’s security interest in the Prepetition Collateral (the

“Comerica Prepetition Liens”) is valid, perfected, first in priority and unavoidable


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and the Prepetition Indebtedness is a valid, binding and unavoidable obligation of

Debtor and Guarantor and there are no setoffs, counterclaims or defenses to the

Prepetition Indebtedness.

      I.     In addition to the Prepetition Indebtedness, Debtor is obligated to The

Peninsula Fund VII Limited Partnership (“Peninsula”) under a certain Note Purchase

Agreement and other loan and collateral documents (“Subordinate Loan

Documents”). The liabilities evidenced by the Subordinate Loan Documents,

including interest, costs, fees and expenses, are identified as the “Subordinate Debt”.

      J.     Under a Senior Subordination Agreement dated January 19, 2021 (as

amended, “Senior Subordination Agreement”), subject to the terms therein,

Comerica’s security interest in the Prepetition Collateral is senior to the Subordinate

Lender’s security interest in the same (the “Peninsula Prepetition Liens”, and

together with the Comerica Prepetition Liens, the “Prepetition Liens”).

      K.     Under a Merchant Cash Advance Agreement dated March 10, 2023

(“MCA Agreement”), Diesel Funding LLC (“Diesel”) advanced funds to Debtor

characterized as a purchase from Debtor of certain future receivables.

      L.     Auxo Investment Partners, LLC (“Auxo”) acquired by purchase and

assignment on June 2, 2023 as the successor in interest to the Prepetition

Indebtedness owed by the Debtor to (i) Comerica under the Prepetition Loan

Documents and (ii) Peninsula under the Subordinate Loan Documents.


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      M.      In order for Debtor to continue to operate its business, and preserve its

goodwill and going concern value, it is necessary for Debtor to use cash collateral

to enable it to pay normal operating expenses (including, without limitation, wages,

salaries, insurance premiums, utilities, rent and taxes) and to purchase inventory and

supplies, and pay accruing administrative expenses.

      N.      Debtor has not been, and will continue to be unable, in the ordinary

course of business or otherwise, to obtain unsecured credit under § 503(b)(1) of the

Bankruptcy Code and needs use of cash collateral in order to continue its operations.

The parties with an interest in cash collateral are willing to permit use of cash

collateral by Debtor under § 363 of the Bankruptcy Code, subject to the terms of this

Order.

      Upon consideration of the above findings, which are incorporated into this

Order, it is ORDERED:

      1.      Debtor is authorized to use cash collateral, subject to the terms of this

Order.     The use of cash collateral will be governed by the Prepetition Loan

Documents (which shall include but shall not be limited to the following documents:

the Prepetition Revolving Note, the Guaranty, the Security Agreement, the

Forbearance Agreement dated January 17, 2023 among Debtor, Guarantor and

Comerica (the “Forbearance Agreement”) and all other Prepetition Loan

Documents), now held by Auxo, subject to the following modifications:


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             (a)     Debtor may use cash collateral to fund payment of expenses as

and when budgeted, with a variance of up to 10% per line item allowed, provided

the aggregate cumulative amount of expenditures does not exceed the aggregate

budget, in the budget [filed on June 8, 2023 as an Exhibit to Docket No. 142] (“Final

Budget”).   Debtor will continue to maintain its Debtor-in-Possession account

(collectively, the “Cash Collateral Account”) at Comerica and Debtor may use ACH

(provided that all ACH transactions are pre-funded) to make payments of budgeted

expenses and shall have online access to view the account and process the ACH

payments, and Comerica shall allow Debtor to deposit funds received electronically

through Comerica. Collections received in the form of physical checks shall be

deposited at Comerica through a branch; the Business Deposit Capture (BDC)

treasury management service at Comerica shall no longer be available to Debtor. By

the earliest of (a) confirmation of a Chapter 11 plan, (b) conversion of Debtor’s case

to Chapter 7, or (c) 60 days after entry of this Order, Debtor shall close its bank

accounts maintained at Comerica and, if applicable, open a Debtor-in-Possession

account at another approved financial institution.

             (b)     Debtor’s use of cash collateral for any particular line item in the

Budget may not exceed the cumulative budgeted amount set forth in such line item.

Debtor shall not use cash collateral except as provided in this Order. Debtor shall

supply Auxo, the U.S. Trustee, the Committee and McLaren with an updated


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Budget, and a reconciliation of postpetition performance to the Budget, not less often

than once every week. If approved by Auxo, the U.S. Trustee, the Committee and

McLaren in writing, Debtor’s updated Budget shall become the “Budget” under this

Order.

             (c)     Debtor’s ability to use cash collateral under this Order shall

terminate on an uncured default by Debtor as described below (“Termination Date”),

unless the Termination Date is extended by written stipulation of Auxo and Debtor.

             (d)     Interest on the Prepetition Revolving Note shall continue to

accrue at the non-default rate specified in the Prepetition Loan Documents.

             (e)     Debtor shall supply financial information and information

relating to the collateral as required by the Prepetition Loan Documents and at the

request of Auxo, the U.S. Trustee, and the Committee. Without limitation, Debtor

shall deliver to Auxo, the U.S. Trustee and the Committee: (i) the information and

reports required under the Forbearance Agreement and other Loan Documents; (ii)

as and when filed, all reports and other documents and pleadings filed by Debtor

with the Bankruptcy Court or the Office of the U.S. Trustee; (iii) a weekly cash flow

statement and integrated projections, comparing actual receipts and disbursements

to the projected receipts and disbursements set forth in the Budget; and (iv) on a

weekly basis a report on Debtor’s “Ending Supplies” and “Ending A/R” (as shown

on Debtor’s Weekly Cash Flow Forecast prepared on April 13, 2023).


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             (f)     All cash and cash equivalents which are now in or hereafter come

into Debtor’s possession shall be deposited in the Cash Collateral Account.

             (g)     Guarantor ratifies and affirms his Guaranty.

             (h)     It is a default under this Order if as of the end of any week, the

sum of (i) Debtor’s cash on deposit in the Cash Collateral Account at Comerica, plus

(ii) an amount equal to the lesser of (A) the amount of Debtor’s “Ending Supplies''

or (B) $581,698, plus (iii) the amount of Debtor’s “Ending A/R” is less than the sum

of (x) the amount of Debtor’s cash as of the Petition Date, plus (y) the amount of

Debtor’s “Ending Supplies” as of the Petition Date, plus (z) the amount of Debtor’s

“Ending A/R” as of the Petition Date. For purposes of this covenant, in order to be

consistent with the figure used to calculate “Ending A/R” as of the Petition Date, the

expected collectible percentage of Debtor’s accounts receivable used in calculating

the “Ending A/R” as of any particular week subsequent to the Petition Date shall not

be greater than 46%.

             (i)     In the Forbearance Agreement, “Borrower is not required to

deliver a Covenant Compliance Report for the quarter ending December 31, 2022”

and shall continue to not have to deliver a Covenant Compliance Report pending

further agreement between the parties. Moreover, through the Cash Collateral

Period, Debtor shall not be required to comply with the following financial

covenants set forth in the Prepetition Loan Documents: (i) Interest Coverage Ratio;


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(ii) Fixed Charge Coverage Ratio; (iii) Senior Debt to EBITDA Ratio; and (iv) Total

Debt to EBITDA Ratio.

      2.     As adequate protection under § 363 of the Bankruptcy Code for

Debtor’s use of cash collateral and any diminution in value in other collateral to the

extent of any diminution in the value of interest in Auxo’s Prepetition Collateral,

Auxo is granted a continuing and replacement security interest and lien to the same

extent, validity and priority as existed on the Petition Date in all of the property of

Debtor (collectively, the “Postpetition Collateral” and identified together with the

Prepetition Collateral as the “Collateral”), including without limitation: (a) all of the

following, whether now owned or existing or hereafter created or acquired, wherever

located, together with all additions and accessions and all proceeds and products

thereof: all accounts, accounts receivable, instruments, documents, drafts, notes,

acceptances, chattel paper, general intangibles (including, without limitation, all

goodwill, copyrights, patents, trademarks, trade names and franchises), software,

contract rights, rights to payment evidenced by chattel paper, documents or

instruments, deposit accounts, rights to payment for money or funds advanced or

sold, causes of action, choses in action, commercial tort claims, letters of credit,

letter of credit rights, supporting obligations, investment property or other property

in possession or control of Auxo, all personal property received as returns and

repossessions, all other forms of receivables, tax refunds of any form, all inventory,


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including all goods held for sale and documents evidencing inventory, all equipment

(together with spare and repair parts, special tools and equipment and replacements),

the proceeds of credit and other forms of insurance coverage of any of the foregoing

and all books and records pertaining to all of the foregoing; and (b) all interests in

real property and fixtures; provided, however, that if Debtor’s interest in any of the

foregoing property as of the Petition Date was encumbered by a valid, binding and

unavoidable lien senior to the prepetition lien held by Auxo, the lien on that property

granted to Auxo under this Order shall be junior to such existing senior lien only

(the “Postpetition Liens”); provided, however, claims under the avoidance

provisions of §§ 544, 547, 548, 549 and 550 of the Bankruptcy Code (the “Chapter

5 Causes of Action”) shall not be subject be part of the Collateral or otherwise

subject to the Prepetition Liens or Postpetition Liens of Auxo.

      3.     As adequate protection under § 363 of the Bankruptcy Code for

Debtor’s use of cash collateral and any diminution in value in other collateral to the

extent of any diminution in the value of Peninsula’s interest in its collateral, Auxo is

granted a continuing and replacement security interest and lien in all of the Collateral

to the same extent, validity and priority as existed on the Petition Date , provided,

however, the Chapter 5 Causes of Action shall not be subject be part of the Collateral

or otherwise subject to the Prepetition Lien or Postpetition Liens of Auxo.




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      4.     As adequate protection under § 363 of the Bankruptcy Code for

Debtor’s use of cash collateral and any diminution in value in other collateral, to the

extent of any diminution in the value of Diesel’s interest in its collateral, Diesel is

granted a continuing and replacement security interest in all of Debtor’s accounts

receivable to the same extent, validity and priority as existed on the Petition Date;

provided, however, Diesel’s interest in Debtor’s accounts receivable under this

Order is junior to the liens and interests of Auxo; and provided, further, the Debtor

and the Committee reserve the right to object to Diesel’s asserted secured claim in

the Debtor’s accounts receivable.

      5.     Auxo reserves the right in the event that the adequate protection

provided to Auxo is insufficient to protect Auxo for Debtor’s use of cash collateral

or for a diminution in value of Auxo’s other collateral, then to the extent that the

automatic stay of § 362 of the Bankruptcy Code or Debtor’s use of cash collateral or

Auxo’s other collateral results in any diminution in the value of Auxo’s interest in

Auxo’s Prepetition Collateral, to seek to allow Auxo’s claim to have priority under

§ 507(b) of the Bankruptcy Code over all administrative expenses incurred in this

Chapter 11 proceeding of the kind specified in § 503(b) of the Bankruptcy Code,

other than unpaid, budgeted administrative expenses, professional fees, and United

States Trustee quarterly fees and paid administrative expenses, professional fees,

and United States Trustee quarterly fees. Auxo also reserves the right in the event


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that the adequate protection provided to Auxo under the Subordinate Lender

Documents is insufficient to protect Auxo for Debtor’s use of cash collateral or for

a diminution in value of Auxo’s other collateral, then to the extent that the automatic

stay of § 362 of the Bankruptcy Code or Debtor’s use of cash collateral or Auxo’s

other collateral results in any diminution in the value of Auxo’s interest in its

collateral, to seek to allow Auxo’s claim to have priority under § 507(b) of the

Bankruptcy Code over all administrative expenses incurred in this Chapter 11

proceeding of the kind specified in § 503(b) of the Bankruptcy Code, other than

budgeted and paid administrative expenses, professional fees, and United States

Trustee quarterly fees (but junior to any claim of Auxo, including any § 507(b) claim

of Auxo, and in all respects subject to the Senior Subordination Agreement). The

foregoing provision shall not restrict nor provide for disgorgement of Debtor’s

payment of administrative expenses, including professional fees, to the extent such

expenses are provided for in the Budget and a written notice of default have been

tendered by Auxo, as provided for under Paragraph 15 of this Order.

      6.     The security interest and lien granted to Auxo under this Order shall be

evidenced by the entry of this Order, and except as otherwise provided herein, shall

be deemed to be first, valid and perfected as against all third parties upon entry of

this Order, without regard to applicable federal, state or local filing and recording

statutes, as of the Petition Date, provided, however, that Auxo may take such steps


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as it deems appropriate to comply with such recording statutes and Debtor shall

execute and deliver such additional documents and shall take any and all additional

action to comply with such recording statutes as Auxo may request. At Auxo’s

discretion, it may attach this Order to financing statements bearing Debtor’s name

as the debtor and file them with any state or local office to further evidence the liens

granted hereby without the signature of Debtor.

      7.     Subject to 11 U.S.C. § 506, Auxo’s secured claim shall include all

reasonable fees and out-of-pocket disbursements incurred by Auxo, in any way

arising from or in connection with this Order, including, without limitation, the

reasonable fees of counsel for Auxo for the preparation, examination and approval

of this Order, for the payment of all fees and out-of-pocket disbursements incurred

by Auxo, including reasonable attorney fees or consultant fees incurred by Auxo, in

any way arising from or in connection with any action taken by Auxo to monitor,

advise, enforce or collect the Prepetition Indebtedness, or enforce any obligations of

Debtor under this Order, the Prepetition Loan Documents or any other document or

agreement arising from or relating to the business relationship between Auxo and

Debtor, including any actions to lift the automatic stay or otherwise in any way

participate in this bankruptcy proceeding. Subject to 11 U.S.C. § 506, Auxo’s

secured claim shall also include such fees and disbursements of Auxo for any

defense of any litigation instituted by Debtor, Guarantor or any third party against


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Auxo arising from or relating to the Prepetition Indebtedness, this Order, the

Prepetition Loan Documents or the business relationship among Debtor, Guarantor,

or any of them, and Auxo. Payment of such fees and expenses shall be made

pursuant to line items in the Budget, upon stipulation of Debtor, Auxo, the

Committee and the U.S. Trustee or upon further Court order.

      8.     The terms of this Order constitute a “finding of fact” as to the “adequate

protection necessary” for Debtor’s use of both cash and non-cash Prepetition

Collateral of Auxo under § 363 of the Bankruptcy Code. This Order is in lieu of all

further hearings on the issue of adequate protection with respect to Auxo. The Court

also finds that Auxo is acting in good faith.

      9.     In consideration for the agreement of Auxo to entry of this Order, and

the agreements of Peninsula and Comerica to sell their loans to Auxo, Debtor and

Guarantor (each, a “Releasing Party”) fully and forever remise, release and

discharge Auxo, Peninsula and Comerica, and each and all of their respective

parent, subsidiary and affiliated corporations, companies and divisions together with

its or their respective predecessors, successors and assigns, and each and all of their

respective directors, officers, employees, attorneys, accountants, consultants and

other agents (collectively, “Releasees”), of and from any and all claims, demands,

agreements, contracts, covenants, actions, suits, causes of action, obligations,

controversies, costs, expenses, accounts, damages, judgments, losses, liabilities and


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defenses, of whatsoever kind or nature, in law, equity or otherwise, whether known

or unknown, whether concealed or hidden, which any Releasing Party has had, may

have had or now has, or which any of its predecessors, successors or assigns

hereafter can, shall or may have, for or by reason of any matter, cause or thing

whatsoever, whenever arising, to and including the date this Order is entered,

concerning (a) claims arising from or in any way related to this Order, the Prepetition

Indebtedness, the Prepetition Loan Documents or the business relationship among

Debtor, Guarantor and Auxo or Comerica or Peninsula, and (b) claims under the

avoidance provisions of §§ 544, 547, 548, 549 and 550 of the Bankruptcy Code that

exist as of the date of the entry of this Order. Debtor and Guarantor admit that they

have no defenses, offsets or counterclaims with respect to the payment of any sum

owing to Auxo, with respect to the validity or enforceability of the Prepetition Loan

Documents, or with respect to the Prepetition Indebtedness as of the date of the entry

of this Order. In addition, Debtor and Guarantor irrevocably waive any right,

without the prior written consent of Auxo, (a) to grant or impose, under § 364 of the

Bankruptcy Code or otherwise, liens or security interests in any Collateral, whether

senior, equal or subordinate to Auxo’s liens and security interests; (b) or to modify

or affect any of the rights of Auxo under this Order or the Prepetition Loan

Documents by any plan of reorganization confirmed in these cases or subsequent

Order entered in these cases.


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      10.    Defaults have occurred under the Prepetition Loan Documents. Except

as provided under this Order, Debtor and Guarantor, to the fullest extent allowed

under applicable law, waive all notices that Auxo might be required to give but for

this waiver, including any notices otherwise required under Section 6 of Article 9 of

the Uniform Commercial Code as enacted in the State of Michigan or other relevant

state (the “UCC”) concerning the Collateral. Furthermore, Debtor and Guarantor

waive (a) the right to notification of disposition of the Collateral under § 9-611 of

the UCC, (b) the right to require disposition of the Collateral under § 9-620(e) of the

UCC and (c) all rights to redeem any of the Collateral under § 9-623 of the UCC.

      11.    Debtor shall keep the Collateral maintained by sufficient insurance

coverage reasonably acceptable to Auxo, with Auxo named as the mortgagee, loss

payee and/or additional insured on all such policies.

      12.    Debtor shall provide Auxo, the Committee and the U.S. Trustee, and

their respective attorneys, accountants, employees and agents with access to

Debtor’s books and records for the purpose of audit, examination and inspection

thereof, and observation of Debtor’s operations, and shall provide all reasonable

information and documents requested by Auxo, the Committee and the U.S. Trustee,

and their designated agents, subject to any applicable privileges.         Auxo, the

Committee and the U.S. Trustee, and their respective attorneys, accountants,

employees and agents shall have the right to enter Debtor’s business premises during


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reasonable business hours for the purpose of examining and appraising Auxo’s

Collateral. Subject to 11 U.S.C. § 506, Auxo’s secured claim shall include the

reasonable costs of any audit requested or performed by Auxo.

      13.    The covenants and other terms of this Order in favor of Auxo are for

the sole benefit of Auxo; Auxo, in its sole discretion, may in writing waive any such

covenant or term.

      14.    In the event that Debtor defaults in performance of any of its obligations

under this Order or under the Prepetition Loan Documents (excluding existing

defaults under the Prepetition Loan Documents) of which Auxo has been notified in

writing, or upon the entry of an order dismissing this case, appointing a trustee in

this case, converting this case to a case under Chapter 7 of the Bankruptcy Code, or

transferring the venue of this case to another district, Debtor’s right to use cash

collateral under this Order and the Prepetition Loan Documents shall terminate,

Debtor shall segregate and account for all cash collateral then in its possession or

control, and Auxo shall have the right to apply for relief from the stay under § 362

of the Bankruptcy Code; provided, however, Auxo shall provide Debtor, with a copy

to the Committee, with two (2) business days’ notice of default in writing and the

opportunity to cure such default prior to seeking relief from the stay under § 362 of

the Bankruptcy Code. Any such application by Auxo may be scheduled for an

expedited hearing on two (2) business days’ notice without objection by any of the


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parties who stipulated to entry of this Order (or as soon thereafter as practicable,

depending on the Court’s schedule and availability) and at such hearing, Debtor shall

have the right to contest the existence of a default.

      15.    The Prepetition Liens, the Postpetition Liens and the adequate

protection granted to Auxo under this Order shall, in any event, in all cases be subject

and subordinate to a carve-out (the “Carve-Out”), which shall be comprised of the

following: (i) all fees required to be paid to the Clerk of the Court and to the U.S.

Trustee pursuant to 28 U.S.C. § 1930(a) (which will be paid in full and not be subject

to distribution pari passu with administrative expenses), (ii) subject in all cases to

the limitations set forth in the Prepetition Loan Documents and to Court approval,

the sum of (A) and (B), where (A) is the aggregate amount of the Debtor’s

professional fees and disbursements which have been incurred, accrued, or invoiced

(but remain unpaid) prior to the date on which Auxo provides written notice that an

Event of Default has occurred and has triggered the Carve-Out (a “Carve Out Trigger

Notice”) for any professional retained by an order of the Court under Sections 327

or 328 of the Bankruptcy Code, and (B) is the aggregate amount of fees and

disbursements of the Debtors’ retained professionals accrued after delivery of the

Carve Out Trigger Notice, up to $150,000.00 (which will be paid in full and not be

subject to distribution pari passu with administrative expenses), and (iii) subject in

all cases to the limitations set forth in the Prepetition Loan Documents and to Court


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approval, the sum of (C) and (D), where (C) is the aggregate amount, of the

Committee’s professional fees and disbursements which have been budgeted and

incurred, accrued or invoiced (but remain unpaid) prior to the receipt by the

Committee of a Carve Out Trigger Notice for any professional retained by an order

of the Court under Section 1102 of the Bankruptcy Code, and (D) is the aggregate

amount of fees and disbursements of any Committee’s retained professionals

budgeted or accrued after delivery of the Carve Out Trigger Notice, up to $150,000

(which will be paid in full and not be subject to distribution pari passu with

administrative expenses). The Carve Out granted hereunder (i) covers all Collateral,

including prepetition, postpetition and post-conversion, (ii) subordinates Auxo’s

liens to the professional fees of Debtor and the Committee awarded at any time by

the Court, and (iii) survive conversion of this case to chapter 7. The Carve Out shall

be paid to Debtor’s professionals and the Committee’s professionals.

Notwithstanding the foregoing, so long as a Carve Out Trigger Notice has not been

provided, Debtor is permitted to pay, subject to and in accordance with the Budget,

administrative expenses allowed and payable under sections 330 and 331 of the

Bankruptcy Code, as the same may become due and payable. At closing of the sale

of substantially all of the assets of Debtor, Auxo shall pay the remaining amount of

the Carve Out due to the Debtor professionals and the Committee professionals. All

Carve Out amounts paid for fees required to be paid to the Clerk of the Court and to


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the U.S. Trustee pursuant to 28 U.S.C. § 1930(a) (which will be paid in full), and for

approved fees and expenses of the Debtor professionals and the Committee

professionals shall be held in a segregated DIP account to be opened by Debtor

within 7 business days of entry of this Order and for which Debtor’s Financial

Advisor Russell Long will be made an additional signatory (the “DIP Professionals

Account”), pending application to and approval of their fees by the Court under the

Bankruptcy Code and the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”). In the event of a liquidation of the Debtor estate other than by a sale of

substantially all of the assets of Debtor, an amount equal to the Carve-Out shall be

reserved from the proceeds of such liquidation, or from the proceeds of Auxo’s

collateral, with such proceeds or cash to be held in the DIP Professionals Account,

prior to the making of any distributions. All distributions and withdrawals from the

DIP Professionals Account shall require 2 signatures.

      16.    Notwithstanding anything in this Order to the contrary, to the extent

that there are items set forth in the Budget from the furnishing of goods or services

to the Debtor prior to the date substantially all of Debtor’s assets are sold or this case

is converted to a Chapter 7 proceeding (other than professional fees addressed in

paragraph 16, above) which have not been paid as of such date, Auxo shall fund such

budgeted amounts to pay such incurred claims such that all budgeted, allowed

Chapter 11 administrative claims are paid in full.


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      17.    The Budget provides that McLaren shall receive a weekly payment of

$13,035 per week, which shall be allocated as follows: (i) up to $7500 to be applied

to current, weekly laboratory fees, which weekly laboratory services shall not exceed

fees of $7,500 per week, and (ii) the balance shall be applied to the accrued but

unpaid postpetition laboratory fees owed to McLaren. In the event Debtor

determines that it needs to contract with McLaren for an amount greater than $7,500

in any given week, Debtor may do so, provided that such additional amount is paid

by the following week, in addition to the presently weekly budgeted amount of

$13,035. In the event this budgeted amount does not satisfy the Debtor’s post-

petition accrued administrative expenses to McLaren, Auxo agrees to satisfy any

unpaid amount in accordance with paragraph 16 of this Order, as if same were

specifically budgeted.

      18.    The provisions of this Order, which shall be immediately effective upon

entry, and any actions taken under this Order, shall survive entry of, and shall govern

with respect to, any conflict with any order which may be entered subsequently, and

the terms and provisions of this Order, as well as the liens and security interests

under the Prepetition Loan Documents, this Order, and all rights of Auxo and

obligations of Debtor created or arising under this Order, shall continue in these

proceedings or any superseding proceedings under the Code, and such liens and

security interests shall maintain their priority as provided by this Order until satisfied


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and discharged. If any or all of the provisions of this Order are hereafter modified,

vacated or stayed by subsequent order of this or any other court, such stay,

modification or vacation shall not affect: (a) the validity of any adequate protection

granted to Auxo under this Order; (b) the validity and enforceability of any lien or

priority authorized for the benefit of Auxo; or (c) the conduct of Auxo with respect

to the rights granted to Auxo in this Order prior to the effective date of such stay,

modification or vacation, and notwithstanding such stay, modification or vacation,

such adequate protection, liens and rights shall be governed in all respects by the

original provisions of this Order and Auxo shall be entitled to all those rights,

privileges and benefits.

      19.    Debtor shall serve a copy of this Order and the Stipulation within 24

hours after entry of this Order under Bankruptcy Rule 4001(d) and Local Bankruptcy

Rule (EDM) 4001-2.



Signed on June 9, 2023




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